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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7        UNITED STATES OF AMERICA,                       Case No. 14-cr-00030-JST-1
                                                         Plaintiff,
                                   8
                                                                                            NOTICE OF EX PARTE CONTACT;
                                                  v.                                        ORDER TO SHOW CAUSE
                                   9

                                  10        MARCUS BELTON,
                                                         Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13           As more fully set forth below, the Court has received an ex parte communication from an

                                  14   attorney for the Federal Bureau of Prisons regarding Defendant Marcus Belton. The

                                  15   communication states that Belton has been diagnosed with COVID-19, is under quarantine, and

                                  16   will therefore be unable to comply with the filing deadlines recently set in this case. See ECF No.

                                  17   325 (setting schedule). The attorney further states his concerns that allowing Belton to proceed

                                  18   with his appeal while he is infected with COVID-19 poses a risk to the health of other inmates,

                                  19   prison staff, and the public at large.

                                  20           This order takes two steps in response to this communication. First, the Court discharges

                                  21   its obligation to place the ex parte contact on the record. Second, the Court issues an Order to

                                  22   Show Cause why it should not vacate and re-enter its prior judgment to ensure that Belton’s

                                  23   appellate rights are protected under these extraordinary circumstances.

                                  24   I.      NOTICE OF EX PARTE COMMUNICATION

                                  25           The Court hereby gives notice that it received the ex parte communication of which a copy

                                  26   is attached hereto as Exhibit A. The communication is an email from Dennis Wong, Regional

                                  27   Counsel for the Federal Bureau of Prisons.

                                  28           The Court is prohibited from receiving ex parte communications. An ex parte
                                   1   communication occurs when someone communicates with the court, orally or in writing, either

                                   2   without notice to or without the presence of the other party or parties. Canon 3(A)(4) of the Code

                                   3   of Conduct for United States Judges provides that, except in circumstances not present here, “a

                                   4   judge should not initiate, permit, or consider ex parte communications or consider other

                                   5   communications concerning a pending or impending matter that are made outside the presence of

                                   6   the parties or their lawyers.”

                                   7          The Clerk is directed to place this Notice and its attachment in the file of the case.

                                   8   II.    ORDER TO SHOW CAUSE

                                   9          As stated in the attached email from Bureau of Prisons attorney Dennis Wong, Defendant

                                  10   Marcus Belton cannot comply with his current appellate deadlines because he is infected with

                                  11   COVID-19 and under quarantine. Moreover, if Belton were to attempt to comply with those

                                  12   deadlines, his preparation and delivery of his legal paperwork would place fellow inmates, prison
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                                  13   staff, and the public at large at greater risk of infection. Under these “extraordinary

                                  14   circumstances,” the Court has the authority vacate and reenter judgment in order to allow Belton

                                  15   the opportunity to appeal. Mackey v. Hoffman, 682 F.3d 1247, 1253-54 (9th Cir. 2012).

                                  16          Accordingly, the Court now ORDERS THE UNITED STATES TO SHOW CAUSE why

                                  17   the Court should not vacate and reenter its judgment dated October 4, 2019. The government’s

                                  18   written opposition, if any, is due April 30, 2020. If no opposition is filed, the Court will vacate

                                  19   judgment and reenter it on May 22, 2020, after the likely conclusion of Belton’s illness and

                                  20   quarantine, to allow Belton 30 days from that date to file a notice of appeal. If an opposition is

                                  21   filed, Belton may file a response to that opposition by June 22, 2020.

                                  22          IT IS SO ORDERED.

                                  23   Dated: April 23, 2020
                                                                                        ______________________________________
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                                                                                                      JON S. TIGAR
                                  25                                                            United States District Judge

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